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UNITED STATES DISTRICT COURT
THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA )
)

ve) No.: Cr. 21-CR-28-APM
)
)

DAVID MOERSCHEL

UNOPPOSED MOTION FOR ADDITIONAL TIME TO FILE MOTIONS

COMES NOW DEFENDANT DAVID MOERSCHEL, by and through counsel, who
respectfully requests that the Court grant him additional time to file motions that he may deem
necessary. Indicted in the Fifth Superseding Indictment (Doc. 328), dated August 4, 2021 and
unsealed on August 9, 2021, Mr. Moerschel was arraigned on August 10, 2021. After his
arraignment, Mr. Moerschel filed a notice to join two motions to dismiss previously filed by
codefendants. (Doc. 351). The Government has also been providing discovery, which is rather
voluminous and requires considerable time to digest. Therefore, Mr. Moerschel respectfully
requests an extension of time of 60 days to file additional motions. Mr. Moershel has no
objection to the continued exclusion of time from the Speedy Trial calculation. Counsel for the
government does not object to this request.

Respectfully submitted,

Brown, Suarez, Rios & Weinberg, P.A.
Attorney for Defendant

265 E Marion Ave., Ste 114

Punta Gorda, FL 33950

Telephone: (941) 575-8000

Facsimile: (941) 575-8888
E-mail: Scott@bsrlegal.com

By__/s/ Scott Weinberg
Scott Weinberg
Fla. Bar No. 71109

 
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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on September 21, 2021, a true and correct copy of the
foregoing was furnished by using the CM/ECF system with the Clerk of the Court, which will
send notice of the electronic filing to all interested parties, including the Office of the United

States Attorney.

Respectfully submitted,

Brown, Suarez, Rios & Weinberg, P.A.
Attorney for Defendant

265 E Marion Ave., Ste 114

Punta Gorda, FL 33950

Telephone: (941) 575-8000
Facsimile: (941) 575-8888

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